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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 PINE BLUFF DIVISION

ALVIN BERNAL JACKSON                                                                PETITIONER

                                       5:03-CV-00405 SWW

RAY HOBBS, Director Arkansas
Department of Correction                                                            RESPONDENT

                                              ORDER

       Before the Court is Respondent’s motion to compel disclosure of Petitioner’s expert

report. Counsel for Petitioner responds that he has conferred with opposing counsel, and the

only material left to be provided is a list of hearings and trials in which Petitioner’s expert has

testified. Counsel states that Petitioner will supplement his expert report with the list of

testimony. Because it appears that the matter has been settled, the Court finds that Respondent’s

motion to compel (docket entry #86) is MOOT.

       IT IS SO ORDERED THIS 4th DAY OF OCTOBER, 2011.

                                                       /s/Susan Webber Wright

                                                       UNITED STATES DISTRICT JUDGE
